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                              UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

DISABILITY RIGHTS OREGON,                         Case No. 3:02-cv-00339-MO (Lead Case)
METROPOLITAN PUBLIC DEFENDER                      Case No. 3:21-cv-01637-MO (Member Case)
SERVICES INC., and A.J. MADISON,

               Plaintiffs,
                                                  DECLARATION OF JESSE MERRITHEW
       vs.

JAMES SCHROEDER, in his official
capacity as head of the Oregon Health
Authority, and DOLORES MATTEUCCI, in
her official capacity as Superintendent of the
Oregon State Hospital,

               Defendants,

       and

JAROD BOWMAN, JOSHAWN
DOUGLAS-SIMPSON,

                Plaintiffs,
 DECLARATION OF JESSE MERRITHEW - 1                             LEVI MERRITHEW HORST PC
 (Case No. 3:02-cv-00339-MO)                                    610 SW ALDER ST. SUITE 415
                                                                    PORTLAND, OR 97205
                                                              T: 971.229.1241 | F: 971.544.7092
DOLORES MATTEUCCI, Superintendent of
the Oregon State Hospital, in her individual
and official capacity, JAMES SCHROEDER,
Direction of the Oregon Health Authority, in
his official capacity, and PATRICK ALLEN           Case No. 3:21-cv-01637-MO (Member Case)
in his individual capacity,

               Defendants,



       I, Jesse Merrithew, declare under penalty of perjury under the laws of the United States of

America pursuant to 28 USC § 1746 that the following is true and correct:

       1.     I am the attorney representing Metropolitan Public Defenders in both of these

matters.

       2.     Attached to this declaration as Exhibit 1 is a copy of the commitment order

entered by the court in State of Oregon v. Sergio Orozco-Gutierrez, Marion County Case No.

22CR16317.

       3.     Attached to this declaration as Exhibit 2 is a copy of the commitment order

entered by the court in State of Oregon v. Lisa Akers, Washington County Case No.

20CR34340.

       DATED this 2nd day of June, 2023.

                                         By: s/Jesse Merrithew
                                            Jesse Merrithew, OSB No. 074564
                                            Of Attorneys for Plaintiffs




 DECLARATION OF JESSE MERRITHEW - 2                                 LEVI MERRITHEW HORST PC
 (Case No. 3:02-cv-00339-MO)                                        610 SW ALDER ST. SUITE 415
                                                                        PORTLAND, OR 97205
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